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                             Exhibit “E”
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                       RESTATED TRUST AGREEMENT
             OF THE PLUMBERS LOCAL UNION NO. 1 WELFARE FUND

           ;/-         THIS TRUST AGREEMENT is made and entered into effective the
      ;;Jl day of J~~. 1999 in the State of New York, by and between Plumbers Local
      Union No. 1 (hereinafter referred to as the "Union"), the Association of Contracting
I                .           .                                    ,,
      Plumbers of the City of New York, Inc. (hereinafter referred' to as the "Association")
      on behalf of Employers (hereinafter referred to as "Employers") who may from time
      to time contribute to the Trust herein created pursuant to Collective Bargaining
      Agreements and the Trustees designated as described herein.
                       WHEREAS, the parties hereto believe that it is in the best interest of
      the employees represented by the Union, and the families and dependents of these
      employ~es, to   provide for health, welfare, medical and other benefits and for that
      purpose continue this Trust Fund; and ·
                       WHEREAS, the parties to this Trust have entered into Collective
      Bargaining Agreements which provide, among other things, that the Employers will
      make payments to a Welfare Fund to provide benefits to employees covered by the
      Collective Bargaining Agreements, and
                       NOW, THEREFORE, in consideration of the promises and of the
      mutual agreements contained in this Trust Agreement, the parties hereto agree to and
      adop{ all of the terms and provisions contained herein and the Trustees declare that
      they will receive, hold, use and apply the contributions and any other money or
      property which may come into their hands as Trustees for the exclusive benefit of



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            the employees and their beneficiaries upon the terms, conditions and trusts,

            hereinafter stated.

                                                  ARTICLE I
                                                 DEFINITIONS

                              Unless the context or subject matter requires otherwise, the
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            following definitions will govern in this Trust Agreement:        u
                                   .                            ,            ./
                              Section 1 . Collective Bargaining Agreement. "Collective Bargaining

            Agreement" means a written labor contract or other written agreement between the

            Union and an Employer or the Association which requires contributions to this Fund

            in a manner acceptable to the Trustees together with any modifications, supplements

            or .amendments thereto.     The term also includes a written agreement between the

            United Association or a local or state labor org11nization and Employers or an

            Employer association or a signed participation agreement between the Fund and an

            Employer or Employer association which requires contributions to this Fund in a

            manner acceptable to the Trustees.

                              Section 2. Union. "Union" means Local Union No. 1 affiliated with

            the United Association of Journeymen 11nd Apprentices of the Plumbing and

            Pipefitting Industry of the United States and Canada.

                              Section 3.   Association.       "Association" means the Association of

            Contracting Plumbers of the City ·of New York, Inc.

                              Section 4. Employer. "Employer" means:



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                         a. An employer which is a member of or is represented in collective

      bargaining by the Association and which is bound by a Collective Bargaining

      Agreement providing for payments to the Trust Fund including payments with respect

      to employees represented by the Union or with respect to other employees of the

I     employer approved by the Trustees, or which is otherwise required to make such
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      payments.
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                         b.    An employer which is not a member of or represented in

      collective bargaining by the Association but which has executed a Collective

      Bargaining Agreement providing for payments to the Trust Fund including payments

     · With .respect to employees represented by the Union or with respect to other

     · employees of the employer approved by the Trustees, or which is otherwise required

     . to make such payments.

                         c.    An employer which has by agreement with the United

      Association agreed to make 'payments into the Trust Fund for worl< performed within

      the territorial or trade jurisdiction of the Union.

                         d. The Union, for the purpose of making payments into the Trust

      Fund as the employer of the employees of the Union for whom the Union agrees to

      contribute to the Trust Fund in accordance with the rules adopted by the Trustees.

                         e.   A state or local labor organization, for the purpose of making

      payments into the Trust Fund .as the employer of the employees of such labor




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      organizations who were previously participants in this Fund for which such labor

      organizations agree to contribute to the Trust Fund in accordance with the rules

      adopted by the Trustees.

                         f.   This Trust Fund or other trust funds to which the l,)nion is a

I                               .                                    ,,
      party, and the Plumbing Industry Board as the administrative office of the Local 1

      Funds, for the purpos~ of making payments into this Trus/ Fund as the employer of

      employees of such trust funds for which such trust funds agree to contribute to this

      Trust Fund in accordance with the rules adopted by the Trustees.

                         g.   The Association, for the purpose of making payments into the
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      Trust .·Fund as the employer of employees of the Association for which the

      Association agrees to contribute to the Trust Fund in accordance with the rules
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      adopted by the Trustees.                                                                    I
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                         Provided, however, that the foregoing reference .to the Union, or
                     .                                 .
      state or local labor organizations, the Plumbing Industry Board and trust funds as

      "Employers" will not convey to these organizations any right or privilege granted by

     this Trust Agreement to Employers who are contractors.

                         Section 5. Employee. "Employee" means those employees who are

     employed by any Employer as defined in Article I, Section 4, and on whose behalf

     contributions are required to be made to the Fund pursuant to a Collective Bargaining

     Agreement and such other persons as the Trustees determine to be employees under




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     the Plan of Benefits.     The Trustees have the authority to adopt rules covering

     eligibility, termination of eligibility, reinstatement of eligibility, reporting and record

     keeping     requirements for Employees.       The Trustees have the authority to adopt

     contribution requirements for Employees who participate in the Fund under an                    I
     agreement with the Trustees.                                                                    I
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                       Section 6.   Beneficiary.       "Ben'eticiary" mlans a person designj:lted

     by an Employee or by the terms of the Plan of Benefits created pursuant to this Trust

     Agreement, who is or may become entitled to a benefit from this Fund.

                       Section 7.   Trustees.      "Trustees" means the Trustees designated

    . and·appointed in accordance with the terms of this Trust Agreement.                            I
                       Section 8.     Trust Agreement.          "Trust Agreement" means this         I
     document including any amendments, supplements and modifications hereto.                        I
                       Section 9.     ERISA.       "ERISA" means the Employee Retirement             I
     Income Security Act of 1974, any amendments as may from time to time be made

     and any regulations promulgated pursuant to the provisions of ERISA.

                       Section 10. Plan of Benefits. "Plan of Benefits" means the program

     of benefits, which may include medical, health and welfare, death disability and other

     benefits, established by the Board of Trustees pursuant to this Trust Agreement and

     as subsequently amended by the Trustees.

                       Section 11. Trust Fund. " Trust Fund" or "Fund" means the Trust




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  Fund provided for in this Trust Agreement, and means generally the monies,

  investments, insurance policies and other things of value which comprise the corpus,

  income and additions to the Trust Fund.

                                    ARTICLE II
                         CONTINUATION OF THE TRUST FUND

                   Section 1.  Continuation of the Trust .,fund. This Agreement
                                                          ./
  continues.a Trust Fund known as the Plumbers Local Union No. 1 Welfare Fund.

                   Section 2.   Composition of Trust Fund.    The assets of this Trust

  Fund consist of (1) the sums of money that have been or will be paid or which are

  due and owing to the Fund by the Employers as required by Collective Bargaining

  Agreements; (2) the sums of money that have been or may be paid to the Fund by

  Employees eith.er directly as a self-payment at the election of the Employee or

  pursuant to subrogation provisions of the Plan of Benefits; (3) all investments made

  therewith, the proceeds thereof and the income therefrom; · (4) all policies of

  insurance including dividends, interest, refunds, or other sums payable to the

  Trustees on account of said policies; (5) all other contributions and payments to or

  due and owing to the Trustees from any source to the extent permitted by law; and

  (6) supplies, property and other assets used by the Trustees in the administration of

 the Fund.

                   Section 3. Purpose of Trust Fund. The Trust Fund created by this

 Trust Agreement is for the purpose of providing (1) medical, health and welfare,




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      death and disability benefits and other benefits that may be permitted by law under a

      plan of benefits adopted by the Trustees and (2) the means for financing the

      expenses of the Trustees in the operation and administration of the Trust Fund, in

      accordance with this Trust Agreement. This Trust is a multi-employer plan as that

      term is defined in Section 3(37) of ERISA.
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                       Sectioii 4. Irrevocable Purpose. The Trust continued by this Trust
                                                                                                  I
      Agreement is an irrevocable trust established for the exclusive benefit of employees,

      in accordance with Section 302(c) of the Labor-Management Relations Act of 1947,

      as amended by Public Law 86·257, 1959, and in accordance with ERISA.

                                         ARTICLE Ill
                                     BOARD OF TRUSTEES

                       Section 1. Board of Trustees. The operation and administration of

     the Fund will be the responsibility of a Board of Trustees, composed of eight (8)

     Trustees, four (4) of whom will be Employer Trustees, designated and appointed by

     the Association, and four (4) of whom will be Union Trustees, designated and

     appointed by the Union.

                       There may also be up to ei.ght (8) alternate Trustees. Up'to four (4)

     of the alternate Trustees may be appointed by the Union and up to four (4) of the

     Alternate Trustees may be appointed by the Association.            The Alternate Trustees

     shall serve in the place of any of the Trustees who are unable to attend a regular or

     special meeting of the Trustees or who are temporarily incapacitated from serving.




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      At or before a meeting, the Union and the Association may designate one or more of

      the Alternate Trustees to serve in the place, of any absent Union or Association

      Trustees respectively.

                       The compo.sition of the Board of Trustees may be changed at any

      time by majority vote of the Trustees.
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                        Sectio·n 2. Acceptance of Trusteeship. Eoich Trustee and Alternate

      Trustee will sign a written acceptance and thereby will accept the Trust established

      by this Trust Agreement, will consent to act as Trustee and will agree to administer

      the Trust Fund as provided In this Trust Agreement. The written acceptance will be

      in a form satisfactory to the Trustees and consistent with ERISA and will be filed at

      the office of the Fund.

                        Section 3.    Appointment and Removal of Trustees.           Trustees

      representing the Employers will be appointed by the Association from among the

      members of the Association who are Employers or officers of Employers.             Any

      Employer Trustee may be removed from office at any time for any reason by the

      Association.   Trustees representing the Union will be appointed by the Union from

      among the officers of the Union.     A Union Trustee may be removed from office at

      any time, for any reason, by the Union. Any such appointment or termination will be

      effective as stated in a written notice which will be given to the remaining Trustees.

                        Section 4.   Name.     The Trustees will conduct the business of the

      Fund and execute all documents in the name of the Plumbers Local Union No. 1



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       Welfare Fund.

                        Section 5.   Resignation and Replacement of Trustees. A Trustee

       may resign and become and remain fully discharged from all further duty or
       responsibility under this Trust Agreement by giving thirty (30) days' written notice of

       such resignation to the Co-Chairmen of the Board of Trustees, or such notice as the
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       remaining Trustees may accept as sufficient. The notice wi~ state the date on which

       the resignation will take effect and the resignation will take effect on the date stated

       in the notice unless a successor Trustee is appointed at an earlier date, in which

       event the resignation will take effect immediately upon the appointment of the

       successor Trustee.                                                                         i
                        In the event of the resignation, death,           incapacity or the
       unwillingness of any of the Trustees to serve, a successor Trustee will be designated
                                                                                                  I
      . by the Union orAssociation, as llPPiicable, in acqordance with this Trust Agreement.      I

       The remaining Trustees will be notified of such designation in writing.

                        Any successor Trustee designated as provided in this Trust

       Agreement will sign an acceptance of this Trust Agreement as provided in Section 2

       of this Article, and will thereby become vested with all the rights, powers, discretion

       and duties of his predecessor Trustee.

                        Any retiring or terminated Trustee will promptly turn over to the

       remaining Trustees at the office of the Fund any and all records, books, documents,

       monies and other property in his possession which are a part of the Trust Fund and



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       related to the fulfillment of the Trustees' duties and responsibilities under this Trust

       Agreement.

                        The powers of the Trustees to act, as provided in this Trust

       Agreement, will not be impaired or limited in any way pending the designation of a

       successor Trustee to fill any vacancy.
I                              .                                     ,,
                        Section 6. Term of Trustees ... A Trustee y,(tiiJ continue to serve until

       his death, incapacity, resignation, removal, or expiration of his'term as established by

      the Union or Association, as applicable, designating the Trustee.

                        Section 7.   Payment of Trustees. The Trustees may not receive

       compensation for. the performance of their duties but may be reimbursed, in

       accordance with ERISA, for any reasonable and necessary expense which they may

      incur in the performance of their duties.

                                        ARTICLE IV
                          MEETINGS AND DECISIONS OF THE TRUSTEES

                        Section 1. Officers of the Trustees. The Trustees will select from

      among themselves two Co-Chairmen of the Trustees to serve for a period which they

      will determine.    One Co-Chairman will be selected from among the Union Trustees

      and the other Co-Chairman will be selected from among the Employer Trustees.

                        Section 2.    Meetings of the Trustees.      Regular meetings of the

      Trustees will be held at such times and places as determined by the Co-Chairmen.

      Reasonable notice of the meetings will be provided, except that meetings may be




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      held at any time without notice if all the Trustees consent thereto in writing. Special

      meetings may be called by either Co-Chairman upon three (3) days' written notice.

      The Trustees will meet at least once each year and at such other times as they find it

      necessary to conduct their business.

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                      Section 3. Action of Trustees Without Meeting. The Trustees may
                            .                                u
      also take action with~ut a meeting, in writihg or by dlephone conference call,

      provided that, in such cases, there must be unanimous agreement of all Trustees.

                        Section 4.   Quorum.     In any meeting of the Trustees, 'four (4)

      Trustees, consisting of at least two (2) Union Trustees and at least two (2) Employer

      Trustees, will constitute a quorum for the conduct of business. At all meetings, the

      Employer and Union Trustees will have equal voting strength.

                       Section 5. Majority Vote of Trustees. All action by the Trustees

      will be by majority decision of the Union Trustees present and voting and the majority

      decision of the Employer Trustees present and voting.          This requirement for a

      decision by a majority of both Union and Employer Trustees voting will apply not only

      to this Article but to any portion of this Trust Agreement which refers to action by

      the Trustees.   If any matter presented to the Trustees for a decision cannot be

      decided because there is no quorum at two successive regular or special meetings, or

      because of a tie vote at any meeting, the matter may be submitted to arbitration, as

      stated in Article IX of this Trust Agreement.



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                       Section 6.      Minutes of Meetings.    The Trustees or someone

      designated by them will keep minutes of all meetings. The minutes need not be

      verbatim. Copies of the minutes will be sent to all the Trustees and to other persons

      as the Trustees may direct. Minutes of a meeting will be reviewed and approved by

i
      the Trustees at the next meeting.

                                         ARTICLE V
                                                                   .1
                                POWERS AND DUTIES OF TRUSTEES

                       Section 1.     Conduct of Trust Business.        The Trustees have the

      authority to control and manage the operation and administration of the Fund and will

      conduct the business and activities of the Fund in accordance with this Trust

      Agreement and applicable law. The Trustees will hold, mar:1age and protect the Trust

     ·Fund and collect the income therefrom and contributions thereto. The Trustees are

      the "Named Fiduciary" and the "Administrator"· of the Fund as those terms ~re

      defined in ERISA.

                       Section 2. Use of the Trust Fund for Expenses and to Provide

      Benefits.

                          (a)   The Trustees have the power and authority to use and apply

      the Trust Fund to pay or provide for the payment of all reasonable and necessary

      expenses (I) to collect Employer contributions and payments and other monies and

      property to which they may be entitled and (ii) to administer this Trust Fund,




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       including the purchase or lease of premises, material, supplies and equipment, (iii) to

       obtain such legal, actuarial, consulting, investment, administrative, accounting,

       clerical and other services as they determine to be necessary or appropriate, and (iv)

      to perform such other acts as the Trustees, in their sole discretion, find necessary or

I
       appropriate to perform their duties.
                               .                                   f!

                        (b)   'The Trustees have the ~ower and iuthority to use and apply

      the Trust Fund to pay or provide for the payment of medical, health, welfare,

      disability and other benefits to eligible Employees and Beneficiaries in accordance

      with the terms, provisions and conditions of the Plan of Benefits adopted by the

      Trustees pursuant to this Trust Agreement.

                        Section 3. Construction and Determinations by Trustees. Subject

      to the purposes of the Fund and the provisions of this Trust Agreement, the Trustees
                                                                                                 I
                                                                                                 I

      have full and exclusive discretionary authority to determine all questions of coverage     I

      and eligibility, method of providing for benefits and all other related matters. They

      have full discretionary power to interpret the provisions of this Trust Agreement and

      the Plan of Benefits, and the terms used in these documents and any rules and

      regulations issued in connection with these documents. Any such determination and

      any such interpretation adopted by the Trustees in good faith will be binding upon the

      Union, Association, Employers, Employees and their Beneficiaries.

                        Section 4. General Powers. In addition to other powers set forth



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       herein or conferred by law, the Trustees are hereby empowered to:

                        (a)       demand, collect, receive and hold contributions and take any

       action which they may find necessary or desirable to collect contributions due the

       Trust Fund;

I
                        (b)   .compromise, settle, arbitrate and release claims or demands
                              •                          !             ./

       in favor of or against the Trust Fund or the Trustees on such terms and conditions as

      the Trustees may determine to be advisable; commence or defend any legal,

       equitable or administrative proceedings brought in connection with the Trust Fund

       and represent the Trust Fund in all such proceedings;

                        (c)       pay ·or provide for the payment of all reasonable and

       necessary expenses of collecting contributions and payments;

                        (d)       enter into any and all contracts and agreements for carrying

       out the terms of this Trust Agreement and the administration of the Fund;

                        (e)       enter into an investment contract or agreement with one or

      more insurance companies for the investment and reinvestment of assets of the Trust

      Fund;

                        (f)       invest, reinvest and have invested and reinvested assets of

      this Trust Fund, without distinction between principal and inc'ome, in any type of ·

      investment the Trustees determine to be prudent. There is no limitation restricting

      investments in common stock to a percentage of the Trust Fund or to a percentage




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       of the total market value of the Fund. The Trustees have the authority, with respect
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       to any stocks, bonds or other real or personal property which they hold as Trustees,

       to exercise all the rights, powers and privileges which might be lawfully exercised by

       a person owning similar property in his own right;

1                        (g)   .register securities or other Trust Fun,9 property in the name of
                               '                                    ./
       the Trust Fund or of the Trustees, or in the names of one or more nominees of the

       Trustees and to hold instruments in bearer form;

                         (h)       enter into and terminate agency or custody agreements with

       a bank, trust company or other custodian chosen by them, under which agreements

       the Trustees may turn over to such bank, trust company or other custodian all or a

       portion of the funds held by them in this Trust for safekeeping, investment or

       reinvestment, on such terms as the Trustees determine to be advisable;

                         (i)       invest the assets of the Fund in a common, collective, or

       commingled trust fund, to the extent permitted by ERISA and other applicable law.

       To the extent monies or other assets are transferred to a collective trust in exchange

       for an interest in the collective trust, the terms and conditions of the collective trust

       alone will govern the investment duties, responsibilities and powers of the trustees of

       the collective trust, and to the extent required by law, those terms, responsibilities,

       and powers will be incorporated herein by reference and will .be part of this Trust

       Agreement;




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                                  sell, exchange, lease, convey, mortgage or dispose of any real
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                        (j)

      or personal property, which is at any time a part of the Trust Fund, on terms which

      the Trustees determine to be proper, and to execute and deliver any and all

      instruments of conveyance, lease, mortgage or transfer in connection therewith;

I                       (k)        pay or provide for the payment of all real and personal
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                                                         !            ./
      property taxes, income taxes and other taxes levied or assessed under applicable law

      upon or with respect to the Trust Fund or any money, property, or securities forming

      a part of the Fund;

                        (I)       retain such portion of the assets of the Trust Fund in cash or

      cash equivalents as the Trustees may determine to be desirable, without any liability

      for interest on such· assets;

                        (m)       establish and accumulate as part of the Trust Fund such

      reasonable reserve funds as the Trustees, in their sole discretion, determine to be

      necessary or desirable to carry out the purposes of the Trust Fund;

                        (n)       allocate fiduciary responsibilities among the Trustees, or

      committees of the Trustees, delegate fiduciary duties to persons other than the

      Trustees, and delegate Trustee responsibilities to an investment manager as provided

      in this Trust Agreement and in accordance with the requirements of ERISA;

                        (o)       appoiRt one or more investment managers, as that term is

      defined in ERISA, and enter into an agreement with such investment managers, in



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      accordance with the requirements of ERISA, delegating to the investment manager

      the responsibility to control and manage, acquire and dispose of all or a portion of the

      assets of the Trust Fund which the Trustees may specify;

                        {p)            enter into an agreement with an administrative manager or

I     establish an arrangement in cooperation with related benefit funds to establish an
                                   '                                        'i
                              -'                              I            ./
      administrative office or offices of the Trust Fund and of the Trustees under the

      direction of the Trustees or a committee of the Trustees. The administrative office

      will coordinate and administer the accounting, bookkeeping and clerical services,

      provide for the coordination of actuarial services furnished by the consulting actuary,

      prepare   {in   cooperation where           appropriate with the consulting actuary and

      independent auditor) all reports and other documents to be prepared, filed or

      .distributed by the Trust Fund in accordance with law, assist in the collection of

      amounts due to the Trust Fund by Employers and Employees and perform such other

      duties and furnish other services as may be assigned,               delegated or directed or as

      may be contracted by or on behalf of the Trustees;

                        (q)            employ a qualified investment consultant to assist the

      Trustees in exercising their investment powers and authority by reviewing the

      investment performance, the investment policy and the types and kinds of

      investments made by the Trustees and/or the investment manager(s);

                        (r)            engage one or more independent certified public accountants,




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       enrolled actuaries and qualified legal counsel to perform all services as may be

       required by applicable law and such other services as the Trustees may determine to

       be necessary;

                         (s)           pay or provide for the payment from the Trust Fund of all

I      costs incurred in obtaining the services of professionals, C(lnsultants, managers and
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                               '                              :.             ,JI
       other providers or services to the Fund as the Trustees determine to be necessary

       and in accordance with this Trust Agreement and applicable law;

                         (t)           designate an agent for service of legal process for the Trust

       Fund;

                         (u)           obtain policies of insurance, to the extent permitted by law,

       to insure the Trustees, the Trust Fund, employees and agents of the Trustees and of

       the Trust Fun~ or the administrative office while engaged in business and r~lated

       activities for and on behalf of the Trust Fund (i) with respect to liability as a result of

       acts, errors or omissions of the Trustees, employees or agents, and (ii) with respect

       to injuries or property damage.            The cost of the premiums for such policies of

       insurance will be paid out of the Trust Fund to the extent permitted by ERISA;

                         (v)           enter into reciprocal agreements (on such terms as the

       Trustees determine to be advisable) with trustees of other ·health, welfare and

       medical funds to permit Employees covered by this Fund to receive credit in this Fund

       when working outside the geographical and/or trade jurisdiction covered by Collective




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  Bargaining Agreements, as defined in this Trust Agreement, and to receive from other

  health, welfare and medical funds contributions received on behalf of such Employees

  by the other funds; to disburse to other health, welfare and medical funds

  contributions. received on behalf of employees not normally covered under this Fund

  to permit those employees to receive credit in such other health, welfare and medical
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                                                               ./
  funds;

                    {w)    merge this Fund into or with another health, welfare or

  medical fund or to accept the transfer of all or a portion of the assets of another

  health, welfare or medical fund in accordance with the provisions of ERISA;

                    {X)    establish. policies, rules and procedures which the Trustees

  determine to be necessary to accomplish the purposes of this Trust Agreement and

  which are not inconsistent with the terms of thjs Trust Agreement;

                    {y) exercise their discretionary authority to make all determinations

  concerning initial and continuing participation of employees and employers in this

  Fund, benefit coverage, eligibility, type, amount and duration of benefits;

                    {z)    do any and all acts, whether or not expressly authorized in

  this Trust Agreement, which the Trustees determine to be necessary to accomplish

  the general objective and purpose of providing health, welfare· medical and related

  benefits to Employees.

                    Section 5.    Personal Liability.   Except to the extent liability is




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        imposed by ERISA, no Trustee will be liable or responsible for his own acts or for any

        acts or defaults of any other fiduciary or party in interest or any other person.

                          The Trustees, to the extent permitted by applicable law, will not

        incur liability by acting on any document which they believe to be genuine and to

/.
        contain a true statement of facts and, if applicable, to be signed by the proper
                                                                      <I

        person.
                                                                     ./

                          Section 6.     Reliance on Written Instruments and Professional

        Advice. Any Trustee, to the extent permitted by ERISA, may rely upon any written

        document purporting to have been signed by a majority of the Trustees as conclusive

        evidence of the fact that a majoritY of the. Trustees have
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                                                                   taken the action stated to

        have been taken in such document.

                          The Trustees may, from time to time, consult with the Trust Fund's

        legal counsel, actuary and any other professionals. To the extent permitted by ERISA,

        the Trustees will be protected in acting upon the advice of such professionals.

                          Section 7. Reliance by Others. No party dealing with the Trustees

        will be obligated to see that the funds or property of the Trust Fund are applied to the

        stated purposes of the Trust, to see that tlie terms of this Trust Agreement have

        been complied with or to review the necessity of any act of the Trustees.             A

        document executed by the Trustees will be conclusive evidence in favor of any

        person relying on such a document that at the time the document was executed, the




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      Trust was in full force and effect, that the document was executed in accordance

      with the terms and conditions of this Trust Agreement, and that the Trustees were

      authorized and empowered to execute the document.

                       Section 8. Books of Account. The Trustees or their agent will keep

I     true and accurate boo~.!l of account and records of all tran~fctions of the Trust Fund

      which will be open to the inspection of each of the Trustees at all times and which

      will be audited at least annually and at such other times as the Trustees determine it
                                                                                                 I
      to be appropriate by a certified public accountant selected by the Trustees. Such

      audits will be available at all times for inspection ·by the Association, Employers, the

      Union and the Employees or their Beneficiaries at the principal office of the Trust

      Fund.

                       Section 9.     Surety Bonds.      The Trustees and any agents or

      employees who are empowered and authorized to sign checks and handle monies of

      the Trust Fund will be bonded by an authorized surety company qualified to write

      such bonds.    The Trustees may also bond such other agents or employees of the

      Trust Fund as they determine to be appropriate. The cost of the premiums of such

      bonds will be paid out of the Trust Fund. The bonds will be in the amounts required

      by applicable law.

                       Section 10. Execution of Documents.        In the course of operating

      the Trust .Fund the Trustees will execute documents in the name of the Plumbers



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   Local   1 Welfare Fund. Documents may be Signed by the Co-Chairmen, or one or·

  more Trustees authorized by resolution. Documents executed as provided above are

   binding on the Trustees and the Trust Fund.

                                    ARTICLE VI·
                         CONTRIBUTIONS TO THE TRUST FUND

                   . Section 1. Contributions Held in Trust. ]he Trustees will receive

  and hold the payments provided for in this Trust Agreement and any other money or

  property which may be entrusted to them, as Trustees, with the powers and duties

  and for the uses and purposes set forth in this Trust Agreement. Neither the Union,

  the Association, the Employers, Employees, or Beneficiaries will have any right, title

  or interest in or to the Trust Fund or any part of the Trust Fund except as required by

  law.

                    Section 2.   Encumbrance of Benefits.     The Plumbers Local Union

  No. 1 Welfare Fund is an irrevocable trust for the sole and exclusive benefit of the

  Employees and their Beneficiaries who are entitled to benefits under the Plan of

  Benefits.

                    All of the assets of the Trust Fund will be free from the interference

  and control of any creditor of the Union, the Association, the Employers, Employees

  or Beneficiaries. No benefits will be subject to assignment or other anticipation, nor

  subject to seizure or to sale under any legal, equitable or other process except as may




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       be specifically permitted by the Trustees in accprdance with applicable law. If any

       claim or benefit becomes or may become payable to any person other than the

       Employee or Beneficiary entitled to the benefit, the Trustees have the power to

       withhold payment of the benefit to the Employee or Beneficiary until the assignment,
                                                                                                      I
i      encumbrance, anticipation
                            .    or other legal process is can9.eled
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                                                                     or withdrawn in a                i
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       manner satisfactory to the Trustees. Until so canceled or withdrawn, the Trustees

       have the power and discretion to use and apply the benefits directly for the support

       and maintenance of the Employee or Beneficiary.

                         The Employers' contributions and payments due and owing to the

       Trust Fund are not and will not be considered wages due to Employees. The Trust

       Fund will not be liable for or subject to the debts, contracts or liabilities of the Union,

       the.Association, Employers, Employees or Ben13ficiaries.

                         No Employee or Beneficiary has the right to receive any part of the

       assets of this Trust Fund, except as provided by the Plan of Benefits.

                         Section 3. Rate of Contributions. Each of the Employers will pay to

       the Trustees or to an agent designated by the Trustees the amount of money as

       established and provided for in Collective Bargaining Agreements. An Employer will

       also be obligated to pay the amounts established in such agreements following the

       expiration of a Collective Bargaining Agreement if the Employer is under a duty to pay

       such amounts pursuant to an obligation arising under the National Labor Relations




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       Act.    The obligations of each Employer under this Trust Agreement will be binding

       upon the Employers' successors and assigns to the extent provided by law.

                         Section 4. Mode of Payment and Reports. All payments required

       by the Collective Bargaining Agreements as defined in Article I, Section 1 will be paid

/.     to the Trustees in the manner and form determined by the Trustees. The Employer
                                    .                                  u
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       will make all reports on contributions required by the Trustees in the performance of

       their duties under this Trust Agreement.

                         The Trustees may, at any time, designate a qualified representative

       to conduct an audit of the payroll, wage and other records of any Employer to permit

       the Trustees to determine whether the Employer is making full payments to the Trust

       Fund in the amounts required by the Collective Bargaining Agreement.        Any data or

       information provided to the Trustees by an Employer or by the Union will be kept
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       confidential and may not be disclosed by the Trustees to any third person, unless the
                                                                                                    J
       Trustees decide that disclosure is necessary for the proper administration of the

       Fund.

                         Section 5.     Presumptions Which Apply Where Records Are Not

       Sufficiimt.   Employers bound to this Trust Agreement are required to keep records

       that are sufficient to allow the Fund's representative and/or auditor to determine

       which Employee performed work for which contributions and/or payments were

       required to be made to the Fund by the Employer and how many hours of such work




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       were performed.     If the Fund's representative and/or auditor determines that the

       Employer's records are not sufficient for this purpose, it will be presumed that any

      individual who performed work for which contributions were required to be made to

      the Fund .by the Employer during the period covered by the audit, spent his entire

I     time performing such work.         Therefore, unless other records are available to
                              :                                       ·11
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      determine hours worked, a delinquency based on the work performed by such a

      person will be calculated by dividing the person's total compensation from the

       Employer by the applicable wage rate under the Collective Bargaining Agreement and

      multiplying by the appropriate rate of contribution.

                         Section 6. Default in Payment. Each Employer is responsible only

      for making contributions and payments that it is obligated to make .on behalf of its

       Employees under its Collective Bargaining Agreement except as provided in this Trust

       Agreement. If an Employer does not pay any contribution or payment when due this             '

       will not relieve any other Employer of his obligation to make payments. Non-payment          I
                                                                                                    I

      by one Employer of any contribution or payment when due does not impose on any

      other Employer, the Association or the Union any obligation with respect to such

      payments.

                         Regular, prompt and correct payment of amounts due by individual

      Employers to this Fund is essential for the maintenance of the Fund. It is extremely

      difficult, if not impossible, to establish the actual expense· and damage to the Fund




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       and to the benefit program provided by the Fund which will result from the failure of

       an individual Employer to make payments in full within the specified time period

       established by the. Trustees. Therefore, payments and the completed reporting forms

       are due by the twentieth (20th) day following the end of each calendar month. If an

I      Employer does not file a report or make contributions within ten ( 10) calendar days of
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      the due date, the following, in the discretion     of the Trustees, will be added to and
       become a part of the amount due from the Employer: (1) liquidated damages for each

       monthly report or payment due in the amount of twenty percent (20%1 of the

       amount due, plus interest at the rate of twelve percent (12%) from the due date to
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      the date of payment; or (2) double interest as provided in ERISA. If an audit of an
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       Employer's records discloses contributions due to the Fund, the Employer will also be

      ·obligated to pay the audit fee.

                        The Trustees have the power to take any action necessary to

       enforce the payment of contributions and other amounts due, which may include

      filing or intervening in any legal, equitable or administrative proceedings.          All

       reasonable expenses incurred by the Trust Fund to enforce the payment of amounts

       due, including but not limited to, reasonable attorneys' fees, accountants' or auditor's

       fees and court costs will be added to the amount owed by the delinquent Employer in

       addition to the amount of contributions .and payments due and the liquidated

       damages and interest provided for above. The Trustees have the authority to settle




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      or compromise any claim, suit, or legal action for less than full amount due or to

       waive amounts due or determine amounts due to be uncollectible when in the

      Trustees' discretion they determine it to be in the best interest of the Fund.

                        The Trus~13es or a committee appointed by the Trustees have the

I      discretion to adopt su~h rules and procedures concerninqi payments to the Fund,              lI
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       audits, liquidated damages and to enforce the collection of delinquent contributions

       as they determine to be necessary. The Trustees may, in their discretion, require a
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       bond or deposit as security for the prompt future payment of contributions and other         II
                                                                                                    '
       amounts due to the Fund. The Trustees may, in their discretion, adopt special rules,

       including but not limited to, more frequent reporting and payment of contributions in

      the event an Employer has been repeatedly delinquent or based on the Employer's

      financial condition, if the Trustees determine that this is necessary to prevent or limit

      the size of a current or potential delinquency.

                        Section 7. Projection of Delinquency. Where an Employer is two or

       more months delinquent in making the contributions required on behalf of his

       Employees and has not submitted the required documents showing the Employees

       who worked for him and the hours worked, the Trustees may project as the amount

       of the delinquency the greater of (a) the average o·f the monthly payments or reports

       actually submitted. by the Employer for the last three (3) months for which payments

      or reports were submitted or (b) the average of the monthly payments or reports




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       submitted by the Employer for the last twelve (12) months for which payments or

       reports were submitted. This projection of delinquency may be made in place of a

       demand for production of payroll documents, or if the Employer fails to provide such

       documents, in place of an audit. The projection may be used as a determination of

i      payments due for each delinquent month, and may be used .for purposes of any

       lawsuit, and no
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                         othe~· proof need be provid~d by the frustees to any court or

       arbitrator to compute the total payments due from the Employer for all delinquent

       months, exclusive of liquidated damages, interest, attorneys' fees and costs set out

       in this Article. This provision does not, however, limit the Trustees from seeking a

       greater amount than the projected delinquency if a greater amount is shown to be

       owed by records or other evidence.

                                           ARTICLE VII
                                        PLAN OF BENEFITS ·

                         Section 1. Benefits. The Trustees have full discretion and authority

      to adopt a Plan of Benefits which includes the eligibility requirements, type, amount

       and duration of benefits that are to be provided equally and without discrimination to

       eligible Employees and Beneficiaries, based on what the Trustees determine to be

       within the financial limitations of the Trust Fund. However, only medical, health,

       welfare, death, disability and related benefits, may be provided for under this Trust

       Agreement.·




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                        Section 2. Eligibility Requirements for Benefits. The Trustees have

       full discretion and authority to determine the eligibility requirements for benefits

       provided by the Fund. They have full discretion and authority to adopt rules stating

       the eligibility requirements which will be binding on the Union, the Association,

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       Employers, Employees, Beneficiaries and dependents and ~ny other persons making
                               '                                    ,{
                                                                   ./
       claims.

                        Section 3. Written Plan of Benefits. The detailed basis on which

       payment of benefits is to be made pursuant to this Trust Agreement will be stated in

       the Plan of Benefits.       The Plan of Benefits may be changed or modified by the

       Trustees at any time as the Trustees, in their discretion, determine is necessary

       based on the financial condition of the Fund, the needs of Employees and

       Beneficiaries and other related facts and circumstances. Any change or modification

       of the Plan of Benefits made by the Trustees will be stated in writing.

                        Section 4. Government Agency Approval. The Trust and the Plan

       of Benefits adopted by the Trustees will be structured and operated to continue to

       qualify for approval by the Internal Revenue Service as a tax exempt Trust and Plan

       to ensure that the Employer contributions to the Fund are proper deductions for

       income tax purposes. In addition, the Plan of Benefits adopted· by the Trustees will·

       be structured and operated to continue to qualify for approval by any other agency as

       may be required by applicable Jaw. It is the intention of the Trustees to fully comply




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       with all requirements of the Internal Revenue Code and ERISA.        The Trustees are

       authorized to file whatever applications and forms are necessary with the Internal

       Revenue Service or other agency to receive and maintain approval of the Trust and

       Plan of Benefits.

                           Section 5.    Limitation of Employer's and Union's Obligations.
I                               .             .                    d
       Neither any Employer, .nor the Association, nor' the Union ·~ave any responsibility for

       the payment of any benefit under the Plan of Benefits.          The obligation of each

       Employer under the Plan is a separate one and is limited to paying into the Trust Fund

       the contributions that the Employer is obligated to make on behalf of its own

       Employees and . other payments under the provisions of the applicable Collective

       Bargaining· Agreement and under. the provisions of this Trust Agreement.

                                             ARTICLE VIII
                                    -coNTROVERSIES AND DISPUTES

                           Section 1.     Reliance on Records.     In connection with any

       controversy, claim, demand, lawsuit or other proceeding between the Union, the

       Association, any Employer, Employee, Beneficiary or any other person and the

       Trustees, the Trustees are entitled to rely to the extent permitted by ERISA, on any

       facts that appear in the records of the Trustees; any documents on file with the

       Trustees, with the Union or the Association or with the Employers; any facts certified

       to the Trustees by the Union the Association or an Employer; any facts which are in




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      the public record and any other evidence pertinent to the issue involved.

                        Section 2. Submission to Trustees. All questions or controversies

      of any type that arise in any manner or between any persons in connection with the

      Trust Fund or the operation of the Trust Fund including, but not limited to, a claim for

'     benefits by an Employee, Beneficiary or any other per§on, or concerning the
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      interpretation .of the language or meaning of the Plan of Benefits or this Trust

      Agreement or the rules and procedures adopted by the Trustees, or concerning any             I
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      decision, document or account in connection with the operation of the Trust Fund or

      otherwise, will be submitted to the Trustees and the decision of the Trustees will be

      binding upon all persons dealing with the Trust Fund or claiming benefits under the

      Trust Fund.

                        Section 3.   Settling Disputes.      The Trusteas may, in their sole

      discretion, compromise or settle any claim or controversy in the manner that they

      determine to be in the best interest of the Fund. Any decision made by the Trustees

      to compromise or settle a claim or controversy, or any compromise or settlement

      agreement entered into by the Trustees, will be final and binding on all parties

      interested in this Trust.

                        Section 4. Withholding Payment.         If a question or dispute arises

      concerning the proper person or persons to whom a payment is to be made under the

      Plan of Benefits or this Trust, the Trustees may withhold the payment until there has



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      been an adjudication of the question or dispute which is satisfactory to the Trustees'

      in their sole judgment or until the Trustees have been fully protected against loss by

      an indemnification. agreement or bond which the Trustees, in their sole judgment,

      determine. is adequate.

I                                          ARTICLE IX              ·:I
                                          ARBITRATION             ./                             I
                       Section 1 . Application of this Article. If the Trustees cannot decide

      any matter, issue or dispute because there is no quorum at two (2) successive regular

      or special meetings of the Trustees, or because there is a tie vote between the

      Employer Trustees and Union Trustees at any meeting, then, in either event, the            I
      Employer Trustees and the Union Trustees will attempt to agree upon the designation
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      of an impartial umpire to decide the dispute.     If, within thirty (30) days after the

      occurrence of either of the two events referred to above the Union Trustees and the

      Employer Trustees fail to agree upon the selection of an impartial arbitrator, then the

      Union Trustees or Employer Trustees may request the . American Arbitration

      Association to submit a panel of five (5) arbitrators from which the disputing parties

      will choose one (1 ). The decision of the impartial arbitrator will be final and binding

      on all parties and persons concerned.

                       Section 2. Expenses of Arbitration. All reasonable and necessary

      costs and expenses in connection with the proceedings before the impartial arbitrator,




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   including the fee, if any, of the impartial arbitrator and including attorneys' fees
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   incurred by the Trustees in connection with the dispute which are mutually agreed

   upon by the Union Trustees and Employer Trustees, is a proper charge against the

   Trust Fund and the Trustees are authorized and directed to pay such charges.                I
                    Section 3.   Status of Arbitrator.
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                                                         An impli!rtial arbitrator or umpire
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   agreed upon or appointed to decide any matter relating to the administration of the

   Trust Fund or Plan of Benefits will be a fiduciary to the extent provided by ERISA or

   court· or agency interpretations of ERISA.

                                      ARTICLE X
                            EXECUTION OF TRUST AGREEMENT

                    Section 1. Counterparts. This Trust Agreement may be executed in

   one or more counterparts.     The signature of a person on any counterpart will be

   suffic:ient evidence of his execution of the Trust Agreemenf.

                    Section 2. Written Instruments. Employers, as defined in Article I,

   Section 4, may adopt and become a party to this Trust Agreement by signing a

   Collective Bargaining Agreement in which the Employer agrees to participate in the

   Trust Fund under the terms of this Trust Agreement and the rules and procedures

   adopted by the Trustees.

                                    ARTICLE XI
                           AMENDMENT TO TRUST AGREEMENT

                    Section 1. Amendment by Trustees. The provisions of this Trust




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   Agreement may be amended to any extent and at any time by a document in writing                I
   adopted by a majority of the Union Trustees and a majority of the Employer Trustees.

    It is expressly understood and agreed that no amendment will direct any of the trust

   assets then in the hands of the Trustees from the purposes and objects of the Trust

   Fund ..
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                    Section 2. Retroactive Effect. The Trustees have full power and

   discretion to establish the effective date of any Amendment. Any Amendment may

   have retroactive effect if it is determined to be necessary by the Trustees.

                                          .ARTICLE XII
                                     )ERMINATION OF TRUST

                    Section 1.         By the Trustees.      This Trust Agreement may be

   terminated by a document in writing adopted a· majority of the Union Trustees and a

   majority of the Employer Trustees if any one or more of the following events occur:

                    (a)         if, in the opinion of the Trustees, the Trust Fund is not

   adequate to carry out the intent and purpose of this Trust Agreement, or is not

   adequate to meet the payments due or which may become due under the Plan of

   Benefits;

                     (b)        if there are no individuals living who can qualify as Employees

   or Beneficiaries under this Trust Agreement;

                     (c)        if Collective Bargaining Agreements requiring contributions to




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   the Trust Fund are no longer in force and effect.

                     Section 2.      Procedure on Termination.      If this Trust Agreement is

   terminated, the Trustees will:

                     (a)       provide forthe payment out of the Trust Fund of expenses             II
   incurred up to the date of termination of the Trust and the expenses in connection
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   with the termination;

                     (b)       arrange for a final audit and report of their transactions and
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   accounts for the purpose of terminating their Trusteeship;

                     (c)       give any notice and prepare and file any reports which may

   be required by law; and

                     (d)       apply the Trust Fund in accordance with the provisions of the

   Plan ;of Benefits including amendments adopted as part of the termination until the

   Fund is disbursed.

                     No part of the corpus or income of the Trust Fund will be used for

   or diverted to purposes other than for the exclusive benefit .of the Employees and the

   Beneficiaries or the administrative expenses of the Trust Fund.                    Under no

   circumstances will any portion of the Trust Fund revert or inure to the benefit of any

   contributing Employer, the Association or the Union either directly or indirectly.

                     Section 3.      Notification of Termination.        Upon termination of the

   Trust Fund under this Article, the Trustees will promptly notify the Union, the




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  Association, Employers, and all other interested parties. The Trustees will continue

  as Trustees for the purpose of winding up the affairs of the Trust Fund.

                                       ARTICLE XII
                               MISCELLANEOUS PROVISIONS

                     Section 1. Termination of Individual Employers. An Employer will

  cease
    .
        to be an Employer within the meaning of. this Trust •IAgreement when he is no

  longer    obligated,   pursuant to   a Collective    Bargaining   Agreement, to    make

  contributions to this Trust Fund.

                     Section 2. Situs. The State of New. York is the situs of the Trust

  Fund established by this Trust Agreement.           All questions pertaining to validity,

  construction and administration of this Trust Fund will be determined in accordance

  with the laws of the State of New York to the exten't not preempted by the laws of

  the United States.

                     Section 3. Construction of Terms. Wherever any words are used in

  this Trust Agreement in the masculine gender, they will be interpreted and applied as

  though they are also used in the feminine or neuter gender, in all situations where

  this would apply.      Wherever any words are used in this Trust Agreement in the           I

  singular form, they will be interpreted and applied as though they are also used in the

  plural form in all situations where this would apply. Wherever any words are used in

  this Trust Agreement in the plural form, they will be interpreted and applied as




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                                     though they are also used in the singular form in all situations where this would

                                     apply.
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                                                                                  Section 4. Notice. Any notice required to be given to one or more

                                    of the Trustees pursuant to any prov,ision of this Trust Agreement will be daemed to

                                    have been given if it is mailed to the Trustee· or Trustees at the most recent address

                                    of the Trustee on file with the Trust Fund.
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                                                                                Section 5. Severability. If any provision In this Trust Agreement,

                                    the Plan of Bemefits or rules and procedures adopt!'ld thereunder, or in any Collective

                                    Bargainfng Agreement, is determined to be illegal or invalid for any reason, this

                                    determination will not affect other provisions contained in those documents, unless

                                   the determination concerning the illegal 'or invalid provision would make the

                                   functioning of the Trust Fund or the Plan of Benefits impossible or impractical.                                                                                                                 In

                                   such case, the appropriate parties wilt promptly ~dopt 'l .new provision to take the

                                   pJace of the illegal or invalid provision.                                                                                                                                                                I
                                                                              Section 6. Refund of Contributions. In no event, will any Employer,
                                                                                                                                                                                                                                                 II
                                   directly or indirectly, receive any refund of contributions made by him to the Trust

                                   Fund except as provided in ERISA. Under no circumstances. will any portion of the

                                   Trust Fund revert or inure to the ben.efit of any contributing Employer, the

                                   Association or th!) Union either directly or indirectly.
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                                                                              Section 7. Article and Section Titles. The Article and Section titles



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- - - - - e included solely for convenience and will not be interpreted to affect or modify any

-----ovision of this Trust Agreement or be interpreted as provisions of this Trust

;;;,;::=:;=:;;;;.;::;;;:Jreement.

                                                                     Section 8.                                         Benefits Payable from Trust Fund Only.                                                              Benefits

_ _ _ __,·vided for by this Trust Agreement and/or the Plan of Be,9efits are only payable to
                                                                                         :'                                                                   '                   ./
_ _ _ __, extent there are assets in the Fund to pay such benefits. Neither the Trustees,

- - - - · ·----- r the Union, the Association or Employers guarantee the payment of benefits, in

=========== event the assets of the Fund are insufficient for this purpose.
                                                                      Section 9.                                       Complete Agreement.                                      The provisions of this Trust

•••••reement exclusively will define the powers, duties, rights and obligations of all
 _ _ _ __.:sons who have a relation to the Trust, except that the amount of the employer

 ------,tributions will be provided for i~ Collective Bargaining Agreements.

                                                                      IN WITNESS · WHEREOF, the undersigned have adopted and

 =::==:==:=::::=:lcuted this document, as evidence of their acceptance of the Trust hereby

                                  ablished and their agreement to be bound by the Trust                                                                                           thisJL~ay of~
                                  1999.



  _ _ ____,MBERS LOCAL UNION NO. 1                                                                                                                                 ASSOCIATION OF CONTRACTING
                                                                                                                                                                   PLUMBERS OF THE CITY OF NEW


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